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LAISI O. KADRI, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

HANSFORD T. JOHNSON, CASE NO: 03-2562 Ml/V

Acting Secretary of the Navy,

Defendant.

 

FINAL JUDGMENT ON JURY VERDICT

 

JURY VERDICT. This action came to consideration before the Court
for a trial by jury. The issues have been tried and the jury
duly rendered its verdict in favor of the Plaintiff on May 9,
2005.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that a judgment in
the amount of $8,000 be and is hereby entered in favor of the
Plaintiff Laisi O. Kadri and against Defendant Hansford T.
Johnson, Acting Secretary of the Navy; said judgment being
comprised of compensatory damages in the amount of $8,000.

APPROVED:

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P. MCCALLA
TED STATES DIS'I'RIC"I‘ JUDGE

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DATE Clerk of Court

 

 

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Honorable J on McCalla
US DISTRICT COURT

